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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                          JOINT PROPOSED JURY QUESTIONNAIRE

         In accordance with the Court’s order (ECF No. 244) that the parties file a joint proposed

  jury questionnaire denoting areas of agreement and disagreement, the Government hereby files the

  attached proposed questionnaire on behalf of all parties. 1

         The table below summarizes areas of agreement and disagreement. In addition, the

  document itself, using color coding, highlights the areas of disagreement. Text in BLACK reflects

  agreed upon language and questions; text in RED denotes language and questions the Government

  proposes to which the defense objects; and text in BLUE denotes language and questions the

  defense proposes to which the Government objects. At the Court’s direction, the parties are

  prepared to file papers explaining the bases for our disagreements.




         1
           Earlier today, the Government filed a motion for leave to file the joint proposed
  questionnaire under seal. See ECF No. 344. That motion is now moot.
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                               Summary of Agreement/Disagreement

   Parties agree                                     1-13, 15-31, 35-45, 47, 48, 50-53, 55-60, 61,
                                                     67, 68, 83, 95-97, 99

   Parties agree to inclusion of question, but       14, 46, 49, 54, 65, 69, 70, 73, 91, 92
   differ as to language or style, as denoted by
   color coding

   Government proposes question and defense          66, 71, 72, 74, 75, 76-80, 84-86, 90, 98
   objects, as denoted by color coding

   Government proposes question and defense          81-82
   objects; if the Court agrees with the
   Government, the defense requests modified
   language, as denoted by color coding

   Defense proposes question and Government          32-34, 62-64, 87-89, 93, 94
   objects, as denoted by color coding

   Other disagreements, as denoted by color          “Knowledge of Trial Participants and the Case”
   coding                                            explanation (between questions 60 and 61) –
                                                     parties disagree as to language.
                                                     Certification page – parties disagree as to
                                                     method for signing/anonymizing



                                                   Respectfully submitted,
                                                   JACK SMITH
                                                   Special Counsel
                                                   N.Y. Bar No. 2678084

                                        By:        /s/ David V. Harbach, II
                                                   David V. Harbach, II
                                                   Assistant Special Counsel
                                                   Special Bar ID #A5503068
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                                                   Washington, D.C. 20530

                                                   Jay I. Bratt
                                                   Counselor to the Special Counsel
                                                   Special Bar ID #A5502946
  February 28, 2024
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                                     CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission

  of Notices of Electronic Filing.

                                              /s/ David V. Harbach, II
                                              David V. Harbach, II
